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 Fill in this information to identify your case:

 Debtor 1
                     Barbara Thomas Pipes
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Louisiana District of __________
                                                                                                (State)
 Case number           19-10375
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 85,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 5,847.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 90,847.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 126,089.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 21,393.03
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 147,482.03
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,343.90
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,337.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Barbara Thomas Pipes                                                                                    19-10375
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        1,320.81
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
              Case 19-10375
Fill in this information               Doc
                         to identify your case10     Filed
                                               and this filing:04/16/19                       Entered 04/16/19 16:04:45         Page 3 of 45

Debtor 1
                    Barbara Thomas Pipes
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Middle District of Louisiana District of __________
                                                                                    (State)
Case number           19-10375
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 3635    Beechwood Drive
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                          85,000.00
                                                                                                                   $________________   85,000.00
                                                                                                                                     $_________________
                                                                     Investment property
             Baton  Rouge             LA     70805                                                                 Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee  simple
                                                                                                                   __________________________________________

            East Baton Rouge                                      Debtor 1 only                                   
                                                                                                                   ✔ Check if this is community property
            _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




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1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  85,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Toyota
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Avalon
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2006                           Debtor 2 only
            Year:                 ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  142,000                                                                                 entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           5,042.00                  5,042.00
   Condition: Good                                               
                                                                 ✔ Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




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                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      5,042.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Furniture and Appliances
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      350.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     32 IN EMERSON TV
   
   ✔ Yes. Describe. ........                                                                                                                                                                          150.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   pants, shirts, underclothes
   
   ✔    Yes. Describe. .........                                                                                                                                                                      200.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       costume jewerly
   
   ✔    Yes. Describe. .........                                                                                                                                                                      30.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        730.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 LA Federal Credit Union                                                              Unknown
                                                 ___________________________________________________________________________________ $__________________
                                                 Bayou Federal Credit Union                                                           75.00
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________
                                                 Bayou Federal Credit Union                                                           Unknown
   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
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                                                                                                                                       $__________________
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       75.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
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                                                                                                                                                                                                               page ___
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
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48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                85,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    5,042.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               730.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           75.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             5,847.00
                                                                                                                     $________________ Copy personal property total                                              5,847.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       90,847.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
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 Fill in this information to identify your case:

                     Barbara Thomas Pipes
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Louisiana District of __________

 Case number
  (If known)
                      19-10375
                     ___________________________________________                                                                                       Check if this is an
                                                                                                                                                          amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                    11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own                           exemption you claim

                                                               Copy the value from                       Check only one box
                                                               Schedule A/B                              for each exemption
                 Household goods - Furniture and Appliances                                                                             La. Rev. Stat. Ann. § 13:3881 (A)(4)
 Brief
 description:
                                                                       350.00
                                                                      $________________              350.00
                                                                                                  ✔ $ ____________

                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:         6
                 Clothing - pants, shirts, underclothes                                                                                 La. Rev. Stat. Ann. § 13:3881 (A)(4)(a)
 Brief
 description:
                                                                        200.00
                                                                      $________________            $ ____________
                                                                                                   ✔  200.00
                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:           11

 Brief
 description:                                                         $________________            $ ____________
                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:
 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                               1
                                                                                                                                                                page 1 of __
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 Fill in this information to identify your case:

                    Barbara Thomas Pipes
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Louisiana District of __________
                                                                                           (State)
 Case number         ___________________________________________
                      19-10375
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Louisiana Federal Credit Union                         Describe the property that secures the claim:                   $_________________
                                                                                                                             11,297.00        $________________
                                                                                                                                                 5,042.00       $____________
                                                                                                                                                                  6,255.00
     ______________________________________                2006 Toyota Avalon - $5,042.00
     Creditor’s Name
      PO Box 1956
     ______________________________________
     Number            Street

     ______________________________________                As of the date you file, the claim is: Check all that apply.
      La Place              LA 70069
     ______________________________________
                                                               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                           
                                                           ✔    An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
                            02/23/2017
  Date debt was incurred ____________                      Last 4 digits of account number
2.2 Mr. Cooper                                             Describe the property that secures the claim:                   $_________________
                                                                                                                             114,792.00       $________________
                                                                                                                                                 85,000.00      $____________
                                                                                                                                                                  29,792.00
     ______________________________________                3635 Beechwood Drive, Baton Rouge, LA 70805 - $85,000.00
     Creditor’s Name
     PO Box 199111
     ______________________________________
     Number            Street

     ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      Dallas                TX
     ______________________________________
                                           75235               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
                            09/22/2006
  Date debt was incurred ____________                      Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                126,089.00
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
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Debtor 1
               Barbara Thomas Pipes
                _______________________________________________________                                                19-10375
                                                                                                Case number (if known)_____________________________________
               First Name    Middle Name         Last Name


  Pa rt 2 :     List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                        Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
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  Fill in this information to identify your case:

                           Barbara Thomas Pipes
      Debtor 1           __________________________________________________________________
                          First Name                      Middle Name               Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                      Middle Name               Last Name


      United States Bankruptcy Court for the: ______________________
                                              Middle District of Louisiana District of __________
                                                                                                (State)
      Case number         ___________________________________________
                            19-10375
                                                                                                                                                            Check if this is an
      (If known)                                                                                                                                               amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                            12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.

          Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                           Total claim    Priority     Nonpriority
                                                                                                                                                          amount       amount
2.1
                                                                           Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                           When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                    As of the date you file, the claim is: Check all that apply.
           ____________________________________________                       Contingent
           City                                 State      ZIP Code
                                                                              Unliquidated
           Who incurred the debt? Check one.                                  Disputed
                 Debtor 1 only                                            Type of PRIORITY unsecured claim:
                 Debtor 2 only                                               Domestic support obligations
                 Debtor 1 and Debtor 2 only                                  Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                              Claims for death or personal injury while you were
                 Check if this claim is for a community debt                  intoxicated
                                                                              Other. Specify
           Is the claim subject to offset?
                 No
                 Yes
2.2
                                                                           Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                       When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                        As of the date you file, the claim is: Check all that apply.
            ____________________________________________                      Contingent
            ____________________________________________                      Unliquidated
            City                                State      ZIP Code
                                                                              Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                           Type of PRIORITY unsecured claim:
                  Debtor 2 only                                              Domestic support obligations
                  Debtor 1 and Debtor 2 only                                 Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                              Claims for death or personal injury while you were
                  Check if this claim is for a community debt                 intoxicated
                                                                              Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          American Medical Collection Agency                                                                                                                   Total claim
4.1
                                                                                     Last 4 digits of account number       0A18
         _____________________________________________________________                                                                                         129.58
                                                                                                                                                             $__________________
         Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?           10/01/2016
                                                                                                                           ____________
          4 Westchester Plaza
         _____________________________________________________________
         Number            Street
          Suite 110
         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Elmsford                            NY       10523
         _____________________________________________________________                  Contingent
         City                                             State          ZIP Code
                                                                                        Unliquidated
         Who incurred the debt? Check one.                                              Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                     
                                                                                     ✔   Other. Specify

         
         ✔      No
               Yes
4.2
         Americollect (Baton Rouge Radiology Group)                                  Last 4 digits of account number                                          60.00
                                                                                                                                                             $__________________
         _____________________________________________________________               When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         1851 S Alverno Rd
         _____________________________________________________________
         Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Manitowoc                                       WI
                                                      54220
                                                                                        Contingent
         _____________________________________________________________                  Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                              Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Medical Services
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Baton Rouge Credit LLC
4.3
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                        536.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           06/30/2018
                                                                                                                           ____________
         3975 North Blvd
         _____________________________________________________________
         Number            Street
         Suite A
         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Baton Rouge                         LA       70806
         _____________________________________________________________                  Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

         
         ✔      Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                             
                                                                                     ✔   Other. Specify

         
         ✔ No

               Yes


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                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     Capital One Auto
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            5,500.00
                                                                                                                                                            $__________________
        PO Box 259407                                                               When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Plano                                            TX
       _____________________________________________________________
                                                                        75025
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
              Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

       
       ✔       Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Auto Loan
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Capital One Bank USA NA                                                     Last 4 digits of account number                                          830.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                          10/23/2006
       Nonpriority Creditor’s Name
        P.O. Box 30281
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Salt Lake City                      UT       84130                              Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Capital One Bank USA NA                                                     Last 4 digits of account number       3217
        _____________________________________________________________                                                                                        277.99
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           10/26/2017
                                                                                                                          ____________
        P.O. Box 30281
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Salt Lake City                      UT       84130
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify
       
       ✔       No
              Yes


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                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Conns Credit Corp
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            1,822.00
                                                                                                                                                            $__________________
        3295 College St                                                             When was the debt incurred?           06/07/2017
                                                                                                                          ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Beaumont                                         TX
       _____________________________________________________________
                                                                        77701
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Credit Collection Services                                                  Last 4 digits of account number       1543                               156.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                          07/08/2018
       Nonpriority Creditor’s Name
        PO Box 607
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norwood                             MA       02062                              Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Credit Control Corp (Cox Communication)                                     Last 4 digits of account number
        _____________________________________________________________                                                                                        322.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        P O Box 120570
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Newport News                        VA       23612-0570
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

              Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify Collection Agency
       
       ✔       No
              Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.10 Diversified Consultants (T Mobile)
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            264.00
                                                                                                                                                             $__________________
         P O Box 551268                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Jacksonville                                     FL
        _____________________________________________________________
                                                                         32255
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Collection Agency
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 First Premier Bank                                                              Last 4 digits of account number                                          517.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                           02/19/2017
        Nonpriority Creditor’s Name
         3820 N Louise Ave
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sioux Falls                         SD       57107                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Franciscan Missionaries Of Our Lady                                         Last 4 digits of account number       5343
         _____________________________________________________________                                                                                        199.83
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           11/26/2017
                                                                                                                           ____________
         5414 Brittany Dr.
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Baton Rouge                         LA       70808
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.13 Gulfsouth Credit Inc.
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            3,699.00
                                                                                                                                                             $__________________
         276 Lobdell Ave                                                             When was the debt incurred?           12/21/2017
                                                                                                                           ____________
        _____________________________________________________________
        Number             Street
         Suite B
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Baton Rouge                                      LA
        _____________________________________________________________
                                                                         70806
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 LVNV Funding LLC                                                                Last 4 digits of account number                                          1,500.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         C/O Credit One
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        PO BOX 1269
        _______________________________________________________________________
        Greenville                          SC       29603                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
        
        ✔       Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Our Lady of The Lake                                                        Last 4 digits of account number
         _____________________________________________________________                                                                                        210.50
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           09/01/2017
                                                                                                                           ____________
         5000 Hennessy Blvd
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Baton Rouge                         LA       70808
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.16 Receivable Recovery                                                                                                   0723
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            124.64
                                                                                                                                                             $__________________
         110 Veterans Blvd                                                           When was the debt incurred?           12/05/2016
                                                                                                                           ____________
        _____________________________________________________________
        Number             Street
         #445
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Metairie                                         LA
        _____________________________________________________________
                                                                         70005
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 TRANSFINANCIAL COMPANIES                                                        Last 4 digits of account number                                          64.69
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                           11/01/2017
        Nonpriority Creditor’s Name
         PO BOX 80103
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Baton Rouge                         LA       70898                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Collection Agency
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Telerecovery (Advanced Management Services                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        67.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         P O Box 641090
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Kenner                              LA       70064
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Collection Agency
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         7 of ___
                                                                                                                                                                              9
 Debtor 1
                 Case   19-10375
                    Barbara Thomas PipesDoc 10       Filed 04/16/19 Entered 04/16/19
                   _______________________________________________________
                                                                                        16:04:45     19-10375Page 23 of 45
                                                                              Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.19 Tha Hip Hop Doc
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            302.80
                                                                                                                                                             $__________________
         429 East Airport                                                            When was the debt incurred?           04/11/2016
                                                                                                                           ____________
        _____________________________________________________________
        Number             Street
         Suite 4
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Baton Rouge                                      LA
        _____________________________________________________________
                                                                         70806
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Verizon Wireless/ Southeast                                                     Last 4 digits of account number                                          3,155.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                           06/30/2018
        Nonpriority Creditor’s Name
         PO Box 650051
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Dallas                              TX       75265                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     Verizon/ Southeast                                                          Last 4 digits of account number
         _____________________________________________________________                                                                                        1,655.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           05/24/2008
                                                                                                                           ____________
         PO BOX 650051
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dallas                              TX       75265
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         8 of ___
                                                                                                                                                                              9
Debtor 1
            Case   19-10375
               Barbara Thomas PipesDoc 10       Filed 04/16/19 Entered 04/16/19
              _______________________________________________________
                                                                                   16:04:45     19-10375Page 24 of 45
                                                                         Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :    Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     21,393.03


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      21,393.03
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page __
                                                                                                                                           9 of ___
                                                                                                                                                 9
               Case 19-10375              Doc 10            Filed 04/16/19         Entered 04/16/19 16:04:45                   Page 25 of 45

 Fill in this information to identify your case:

                       Barbara Thomas Pipes
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        Middle District of Louisiana District of ________
                                                                                 (State)
 Case number            19-10375
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
               Case 19-10375                     Doc 10                Filed 04/16/19           Entered 04/16/19 16:04:45           Page 26 of 45
 Fill in this information to identify your case:

                     Barbara Thomas Pipes
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Middle District of Louisiana District of ________
                                                                                              (State)
 Case number              19-10375
                        ____________________________________________
  (If known)
                                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
      
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
           
           ✔                                                                LA
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                    Eddie Pipes
                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
3.1
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.2
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.3
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                       1
                                                                                                                                                     page 1 of ___
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 Fill in this information to identify your case:

                      Barbara Thomas Pipes
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Middle District of LouisianaDistrict
                                                                                    tate)
 Case number            19-10375
                     ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                                Employed
    employers.                                                             Not employed                                 
                                                                                                                         ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Delivery Driver
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                           Colonial Logistics (Amazon)
                                         Employer’s name                __________________________________            __________________________________


                                         Employer’s address                10021 Professional Blvd
                                                                        _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Baton Rouge, LA 70809
                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   3 months                                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.       2,548.43
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.       2,548.43
                                                                                                  $__________            $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
             Case 19-10375
              Barbara         Doc 10
                      Thomas Pipes                                   Filed 04/16/19                    Entered 04/16/19 16:04:45   Page 28 of 45
                                                                                                                              19-10375
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        2,548.43
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          376.47
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.           20.06
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.          396.53
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        2,151.90
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   SNAP                                                            8f.                                        192.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.          192.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            2,343.90
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________      =      2,343.90
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             2,343.90
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
            Case 19-10375                 Doc 10     Filed 04/16/19       Entered 04/16/19 16:04:45                 Page 29 of 45
                Barbara Thomas Pipes                                                                          19-10375
 Debtor 1                                                             _              Case number (if known)
               First Name   Middle Name        Last Name



                                                   Continuation Sheet for Official Form 106I


1. Describe Employment:

Debtor: Barbara Thomas Pipes

Occupation:

Name of Employer: Geo Prep Mid City

Employer's Address: 1630 Meridian St Ste 350, Indianapolis, IN 46202

Length of Employment:

-------




   Official Form 106I                                      Schedule I: Your Income
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  Fill in this information to identify your case:

                     Barbara Thomas Pipes
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Middle District of Louisiana
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                       19-10375                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    800.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                     25.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
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                    Barbara Thomas Pipes                                                                             19-10375
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     125.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      75.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     190.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     386.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      75.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      75.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                      45.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     125.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                      50.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     130.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     236.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
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                   Barbara Thomas Pipes                                                                                 19-10375
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 2,337.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 2,337.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       2,343.90
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,337.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                       6.90
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
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Fill in this information to identify your case:

Debtor 1           Barbara Thomas Pipes
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Middle District of Louisiana District of __________
                                                                                (State)
Case number         19-10375
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Barbara Thomas Pipes
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              04/16/2019
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                 Case 19-10375              Doc 10         Filed 04/16/19                    Entered 04/16/19 16:04:45               Page 34 of 45

Fill in this information to identify your case:

                  Barbara Thomas Pipes
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the:Middle District of Louisiana District of __________
                                                                                   (State)
Case number         ___________________________________________
                     19-10375                                                                                                                  Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                          
                                                                                                                                          ✔ No
          name:           Louisiana Federal Credit Union
                                                                                        Retain the property and redeem it.                Yes
         Description of          2006 Toyota Avalon
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Mr. Cooper                                                  
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of          3635 Beechwood Drive
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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Debtor
                     Barbara Thomas Pipes
                    ______________________________________________________                                       19-10375
                                                                                             Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Barbara Thomas Pipes
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             04/16/2019
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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 Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1           Barbara Thomas Pipes
                   __________________________________________________________________
                     First Name               Middle Name                  Last Name
                                                                                                         
                                                                                                         ■   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                  Last Name                        2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
                                          __________
 United States Bankruptcy Court for the: Middle District ofDistrict
                                                            Louisiana
                                                                    of __________                               Means Test Calculation (Official Form 122A–2).
 Case number         19-10375
                     ___________________________________________                                            3. The Means Test does not apply now because of
 (If known)                                                                                                     qualified military service but it could apply later.


                                                                                                          Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e

 1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       Married and your spouse is NOT filing with you. You and your spouse are:
      ✔
        
        ✔ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).
                                                                                                           1,128.81
                                                                                                          $_________             0.00
                                                                                                                                $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.
                                                                                                           0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.
                                                                                                           0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________

 5. Net income from operating a business, profession,
                                                                        Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                                 0.00
                                                                          $______        0.00
                                                                                       $______
      Ordinary and necessary operating expenses                            0.00 –
                                                                        – $______        0.00
                                                                                       $______
                                                                                                  Copy                           0.00
      Net monthly income from a business, profession, or farm              0.00
                                                                          $______        0.00 here
                                                                                       $______               0.00
                                                                                                          $_________            $__________

 6. Net income from rental and other real property                      Debtor 1       Debtor 2
    Gross receipts (before all deductions)                                $______
                                                                           0.00          0.00
                                                                                       $______
      Ordinary and necessary operating expenses                         – $______
                                                                           0.00 –        0.00
                                                                                       $______
                                                                                                  Copy
      Net monthly income from rental or other real property                0.00
                                                                          $______        0.00 here
                                                                                       $______              0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________
 7. Interest, dividends, and royalties                                                                      0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________



Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income
                Case 19-10375                        Doc 10              Filed 04/16/19                      Entered 04/16/19 16:04:45                            Page 37 of 45

Debtor 1           Barbara   Thomas Pipes
                   _______________________________________________________                                                   Case number (if known)19-10375
                                                                                                                                                   _____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                    0.00
                                                                                                                                  $__________                   0.00
                                                                                                                                                               $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ............................... 
                                                                                                       0.00
           For you .................................................................................. $______________
                                                                                               0.00
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                      0.00
                                                                                                                                  $__________                  0.00
                                                                                                                                                              $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.
         SNAP
         ______________________________________                                                                                    192.00
                                                                                                                                  $_________                   0.00
                                                                                                                                                              $___________
         ______________________________________                                                                                    0.00
                                                                                                                                  $_________                   0.00
                                                                                                                                                              $___________
         Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                               + $_________                   0.00
                                                                                                                                                           + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                         1,320.81
                                                                                                                                  $_________
                                                                                                                                                       +       0.00
                                                                                                                                                              $___________
                                                                                                                                                                                  = $__________
                                                                                                                                                                                     1,320.81
                                                                                                                                                                                    Total current
                                                                                                                                                                                    monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here          1,320.81
                                                                                                                                                                                  $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.     15,849.72
                                                                                                                                                                                  $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                              LA

       Fill in the number of people in your household.                                   1

       Fill in the median family income for your state and size of household. ............................................................................................. 13.     45,045.00
                                                                                                                                                                                  $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?
            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                  /s/ Barbara Thomas Pipes
                        __________________________________________________________                                       ______________________________________
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                            04/16/2019
                       Date _________________                                                                             Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


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                                      United States Bankruptcy Court
                                                              Middle District of Louisiana
                                               __________________________________
     In re   Barbara Thomas Pipes

                                                                                                             Case No. _______________
                                                                                                                      19-10375



    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,200.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,200.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
- Counsel with the debtor(s) on an as needed basis;
- Prepare and timely file a proposed Chapter 13 plan and any required amendments to the plan;
- Prepare and timely file the required petition, schedules, statement of financial affairs, and all other required documents;
- Prepare and file miscellaneous motions required to protect the debtor(s)? interest in the case;
- Attend the section 341(a) meeting of creditors;
- Review all proofs of claim filed; file proofs of claim for secured or priority claimants provided for under the plan, if the claimant does not timely file a
proof of claim; and modify the plan after confirmation or object should a timely proof of claim require greater distributions than provided for by the
confirmed plan;
- Attend the confirmation hearing, if required under the circumstances, including but not limited to if an Objection is filed; and
- Advise the debtor(s) concerning their obligations and duties pursuant to the Bankruptcy Code, Bankruptcy Rules, applicable court orders and the
provisions of their chapter 13 plan.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
- Representation of the debtor(s) in an adversary proceeding, either as a plaintiff or a defendant;
-Representation of the debtor(s) in a contested matter, the subject of which is extraordinary in the context of chapter 13 cases in the United States
Bankruptcy Court for the Middle District of Louisiana;
-Representation of the debtor(s) in any matter in which the court orders fee shifting pursuant to which fees are to be paid by a person other than the
debtor(s); and
- Representation on matters for which the first hearing is set more than 120 days following confirmation.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       04/16/2019                        /s/ Morley Diment, 37449
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         Pierce and Shows
                                        _________________________________________
                                              ​Name of law firm
                                         601 St. Joseph St
                                         Baton Rouge, LA 70802
                                         mcd@dimentfirm.com
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                                                                                                                     19-10375
In re                                                                                                    Case No.
                                                  Debtor(s)

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                          (Continuation Sheet)
                                                         CERTIFICATION OF DEBTOR(S)

[if applicable, i.e. services limited and agreement is contained in disclosure as opposed to being separately attached].

          I certify that the above agreement with my attorney has been explained to me by my attorney and accurately reflects the services that my
attorney has agreed to provide for the fees paid or promised as stated in this disclosure. Further, I agree that the description of those services that will
not be provided by my attorney for the fees paid or promised in the disclosure is accurate and that I understand that if any of these excluded services
become necessary, my attorney is under no duty to represent me unless I make further arrangements, as set forth by my attorney above, for the
attorney to act on my behalf.
04/16/2019
           Date

/s/ Barbara Thomas Pipes
           Signature of Debtor
/s/
          Signature of Joint Debtor
